Case 4:14-cV-03066 Document 12 Filed in TXSD on 11/18/14 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION
MERYEM ALI,
Plaintiff,
CIVIL ACTION NO. H-l4-3066

V.

FACEBOOK, INC., and
ADEEL SHAH KHAN,

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Defendants.
ORDER OF DISMISSAL

Pending is Plaintiff Merymn Ali’s Motion to Dismiss this
entire case (Document No. 10), the only remaining named Defendant
being Adeel Shah Khan. Plaintiff represents that Defendant was
never served with summons and a copy of the Complaint and the Court
file discloses that Defendant Khan has filed no answer or other
pleading in this case. Accordingly, Plaintiff's Motion is GRANTED,
and it is

ORDERED that this case against Defendant Adeel Shah Khan is
DISMISSED.

The Clerk will enter this Order, providing a correct Copy to
all parties of record. g

SIGNED at Houston, Texas, on this 155 day of November, 2014.

 

WERLEIN, JR.
UNITED TES DISTRICT JUDGE

